       Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 1 of 24




                      SETTLEMENT AGREEMENT BETWEEN
                 PLAINTIFFS AND THE UNITED STATES OF AMERICA

       This Settlement Agreement is entered into by and between Plaintiffs, on the one hand, and

the United States of America (“United States”), on the other hand (both terms as defined herein;

collectively, the “Parties”), effective April 13, 2022 (the “Effective Date,” as defined herein), in

the civil action entitled Black Lives Matter, D.C. v. Donald Trump, No. 20-1469 (DLF). The

Parties believe that partial settlement of this action, without any admission of liability, as of the

Effective Date of this Settlement Agreement, is in their best interests and best serves the interests

of justice by conserving resources, time, fees, and costs in connection with this action. In exchange

for the mutual covenants contained herein, and for other good and valuable consideration, the

receipt and sufficiency of which are hereby acknowledged, the Parties, each intending to be legally

bound, hereby agree to the following terms and conditions.

A.     Definitions

       For purposes of this Settlement Agreement:

       1.      “Plaintiffs” shall refer to all Plaintiffs in the Third Amended Complaint (hereafter

“Complaint”) filed on September 3, 2020 (ECF No. 52).

       2.      The “United States” shall refer to the United States of America and its agencies and

instrumentalities, including the Federal Defendants named in the Complaint, and their present and

former officials, employees, and agents, in their official capacities.

       3.      The “Effective Date” shall refer to the date on which both parties sign this

Settlement Agreement.

B.     Covenants of the United States as Conditions Precedent to Plaintiffs’ Obligations

       1.      The United States Park Police agrees to revise and reissue its General Order 2301

(Demonstrations and Special Events) as reflected in Attachment A to this Settlement Agreement,

                                                  1
          Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 2 of 24




which is incorporated herein by reference. The U.S. Park Police agrees to finalize these revisions

within thirty (30) days of the Effective Date of this Settlement Agreement and post them publicly

online.

          2.     The U.S. Secret Service agrees to revise and reissue its UND [Uniformed

Division]-13 Policy to include the following language:

          The fact that some individuals in a crowd have engaged in unlawful conduct does not
          normally provide blanket grounds for use-of-force countermeasures, crowd dispersal, or
          declaration of an unlawful assembly.

The U.S. Department of Homeland Security agrees to finalize this revision within thirty (30)

days of the Effective Date of this Settlement Agreement.

C.        Covenants of Plaintiffs

          1.     Plaintiffs shall fully release, forgive, and discharge the United States, its officers,

agents, and employees, for all claims for equitable relief arising from or that could have been

asserted by Plaintiffs as a result of the allegations in the Complaint under any theory of liability

(including any request for attorneys’ fees and costs in prosecuting such claims for equitable relief,

including the ones in this case), including any such claims or lawsuits in any other proceeding or

forum.

          2.     Plaintiffs and their counsel agree to forgo any request to certify a class for equitable

relief pursuant to Rule 23 of the Federal Rules of Civil Procedure, as indicated in the Complaint.

See 3d Am. Compl. ¶ 206.

          3.     Within seven (7) days of the Effective Date of this Settlement Agreement, Plaintiffs

agree to file a joint stipulation of dismissal of their claims for equitable relief against the United




                                                    2
       Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 3 of 24




States, with prejudice, under Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, each

Party to bear its own fees and costs.

D.     General Provisions

        1.      No Admission of Liability. In entering into this Settlement Agreement, there is no

admission of liability by the United States or admission of any factual contentions that have been

asserted by Plaintiffs in this litigation. Plaintiffs do not suggest or concede a lack of merit to their

claims or to any factual contention that has been asserted by Plaintiffs in this litigation.

        2.      Non-Severability. The Parties do not intend this Settlement Agreement to be

severable absent express written agreement by the Parties.

        3.      Costs. The Parties agree to bear their own fees and costs with respect to this

Settlement Agreement.

        4.      Return of Documents. Plaintiffs shall destroy any copies of draft policies provided

by counsel for the United States, including any copies thereof, that are subject to the Protective

Order (ECF No. 169) within thirty (30) days of the filing of the stipulation of dismissal referenced

in Paragraph C.3.

        5.      Complete Agreement and Amendments. This Settlement Agreement constitutes

the complete agreement between the Parties. This Settlement Agreement may not be amended

except by written consent of the Parties.

        6.      Non-Federal Defendant and Individual-Capacity Claims.                This Settlement

Agreement does not encompass nor encumber Plaintiffs’ advance of claims against any non-

Federal Defendants nor the claims against the named federal officials in their individual capacities

under Bivens v. Six Unknown Named Agents of the Fed. Bureau of Narcotics, 403 U.S. 388 (1971),



                                                   3
       Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 4 of 24




42 U.S.C. § 1985, and 42 U.S.C. § 1986. The United States will be a non-party to the litigation of

claims against any non-Federal Defendants or named federal officials in their individual capacities.

       7.      Disclosure of Agreement to Public. All parties consent to any party’s disclosure of

this Settlement Agreement, and information about this Settlement Agreement, to the public.

       8.      Authority of Signatories. Each party and signatory to this Settlement Agreement

represents that it freely and voluntarily enters into this Settlement Agreement without any degree

of duress or compulsion. Undersigned counsel represents and warrants that they are fully

authorized to execute this Settlement Agreement on behalf of the Parties.

       9.      Choice of Law. This Settlement Agreement is governed by the laws of the District

of Columbia.

       10.     Notice and Cure. In the event of any alleged or actual violation of this Settlement

Agreement, Plaintiffs through counsel shall provide written notice of such to the United States

through undersigned counsel for the United States. The United States shall have sixty (60) days

to remedy any violation prior to Plaintiffs seeking enforcement though a breach of contract claim.

       11.     Enforcement. The remedy for enforcement of any right created by this Settlement

Agreement is by way of a claim for breach of contract subject to the notice and cure provision set

forth in Paragraph D.10 above and the other terms of this Settlement Agreement. Any breach of

contract is presumed to cause Plaintiffs irreparable harm. The Parties agree that venue and

jurisdiction is proper over an original action to enforce this Settlement Agreement only in the U.S.

District Court for the District of Columbia.

       12.     Expiration. This Settlement Agreement, and its terms, shall expire automatically

one year after the policy changes described in Paragraph B are implemented.


                                                 4
       Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 5 of 24




       13.     No Precedent. The terms of this Settlement Agreement will not be cited as evidence

or background information in any civil case or administrative action or proceeding, and will not

establish any precedent, nor will this Settlement Agreement provide a legal basis for Plaintiffs or

any representative organization to seek or justify similar terms in any subsequent or pending case,

except in an action by Plaintiffs alleging a breach of this Settlement Agreement.


FOR PLAINTIFFS:                              Date: _________________________________

                                             By:     _________________________________
Jon Greenbaum (D.C. Bar No. 489887)                  Scott Michelman (D.C. Bar No. 1006945)
Arthur Ago (D.C. Bar No. 463681)                     Arthur B. Spitzer (D.C. Bar No. 235960)
David Brody (D.C. Bar No. 1021476)                   Michael Perloff (D.C. Bar No. 1601047)
Arusha Gordon (D.C. Bar No. 1035129)                 American Civil Liberties Union Foundation
Lawyers’ Committee for Civil Rights Under Law               of the District of Columbia
1500 K Street N.W., Suite 900                        915 15th Street NW, Second Floor
Washington, D.C. 20005                               Washington, D.C. 20005

John A. Freedman (D.C. Bar No. 453075)               Kaitlin Banner (D.C. Bar No. 1000436)
David E. Kouba (D.C. Bar No. 483145)                 Dennis Corkery (D.C. Bar No. 1016991)
Sonia Tabriz (D.C. Bar No. 1025020)                  Jonathan Smith (D.C. Bar No. 396578)
Arnold & Porter Kaye Scholer LLP                     Washington Lawyers’ Committee for Civil
601 Massachusetts Avenue, N.W.                               Rights and Urban Affairs
Washington, D.C. 20004                               700 14th Street, NW, Suite 400
                                                     Washington, D.C. 20005


FOR THE UNITED STATES OF AMERICA:

MATTHEW M. GRAVES                                    BRIAN P. HUDAK
United States Attorney                               Acting Chief, Civil Division

By: _______________________________                  _______________
CHRISTOPHER C. HAIR                                  Date
Assistant United States Attorney, Civil Division
United States Attorney’s Office
555 4th Street, N.W.
Washington, D.C. 20530




                                                5
       Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 6 of 24
                                     ATTACHMENT A




                     U.S. DEPARTMENT OF THE INTERIOR
                           NATIONAL PARK SERVICE                                     2301
                      UNITED STATES PARK POLICE

                                GENERAL ORDER
              DEMONSTRATIONS AND SPECIAL EVENTS
Notes: This policy document replaces G.O. 2301 - Demonstrations and Special Events - NCR
(02-23-04). The contents of Force Memorandum No. 8 (Series 2015) – Coordination with Other
Law Enforcement Agencies and the Handling of Possible Violations by Other Agencies During
Such Situations have also been incorporated into this policy document and that Force
Memorandum is therefore rescinded.
DOI/NPS References:                           Related Policy Materials:
   • 446 DM 20                                     • G.O. 12.00 Force Legal Advisor
   • D.O. 53                                       • G.O. 2108 High-Volume Arrests
   • NPS Management Policies (2006),               • G.O. 3605 Defensive Equipment
       Section 8.6 – Special Park Uses             • G.O. 3615 Use of Force
   • RM 53                                         • G.M. Civil Disturbance Unit
                                                   • USPP Form ## - [Title] (A form to record
                                                       the circumstances and observations of
                                                       officers related to uses of force during a
                                                       demonstration or special event.)
Publication/Effective Date: MM-DD-YY          Authorized By:


                                               Pamela A. Smith, Chief of Police

I.     POLICY
The United States Park Police (USPP) shall facilitate the public’s attendance of special events
and protect individual rights related to all persons and groups to organize and participate in
peaceful demonstrations, protests, and other First Amendment activities, subject to reasonable
restrictions designed to protect public safety, persons, and property, and to accommodate the
interests of persons not participating in the assemblies.
II.    PURPOSE
This General Order sets forth guidance and procedures for all sworn personnel carrying out the
mission of the USPP when interacting with persons attending special events and/or exercising
their constitutional rights and expressing their views protected by the First Amendment to
effectively manage crowds to prevent loss of life, injury, or property damage, and to minimize
disruption to persons who are not involved.
       Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 7 of 24
                                   ATTACHMENT A



III.   DEFINITIONS
            Civil Disturbance – An unlawful assembly that constitutes a breach of the peace
            or any assembly of persons where there is a threat of collective violence,
            destruction of property, or other unlawful acts. Civil disturbances are often, but
            not always, spontaneous occurrences that may require the emergency mobilization
            of law enforcement officers and related emergency services.
            Civil Disturbance Unit (CDU) – An organized, mobile law enforcement force
            equipped and trained to provide rapid and disciplined response to civil unrest.
            Crowd Control – Techniques used to address civil disturbances, to include a show
            of force, crowd containment, dispersal equipment and tactics, and preparations for
            multiple arrests.
            Crowd Intervention – Actions taken by an officer(s) to deter, isolate, and/or
            remove individuals engaging in unlawful behavior that impacts public safety
            while allowing the event, activity, or occurrence to continue if possible.
            Crowd Management – Techniques used to manage lawful assemblies before,
            during, and after the event for the purpose of maintaining lawful status and public
            safety through event planning, pre-event contact with event organizers, issuance
            of permits when applicable, information gathering, personnel training, and other
            means.
            Defensive Equipment – authorized equipment utilized by an officer(s) to gain
            control of an individual or group of individuals, or to effect an arrest to ensure the
            protection of the public, the officer, and any arrestees.
            Demonstrations – Demonstration activity is defined as any protest, rally, march,
            vigil, gathering, assembly, or similar conduct engaged in for the purpose of
            expressing political, social, religious, or other similar ideas, views or concerns
            protected by the First Amendment of the United States Constitution.
            Event – a gathering of people which includes special events, demonstrations, or
            any other activity or incident likely to attract a crowd to include First Amendment
            activities. This term does not include casual park use by visitors or tourists.
            Exigent Circumstances – An emergency situation requiring swift action to prevent
            imminent danger to life or serious damage to property, or to forestall the
            imminent escape of a suspect, or destruction of evidence.
            Incident Commander – The USPP official with the overall responsibility for
            managing an incident, following the standardized Incident Command System
            roles under the National Incident Management System (NIMS).
      Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 8 of 24
                                 ATTACHMENT A



           Incident Command System (ICS) – The standardized incident organizational
           structure established by the NIMS for the management of all incidents.
           National Incident Management System (NIMS) – is a standardized approach to
           incident management developed by the United States Department of Homeland
           Security intended to facilitate coordination between all responders at the scene of
           an incident.
           Rules of Engagement – standing orders that encompass an assessment of
           intelligence regarding potential or active unlawful activity, the initial deployment
           of defensive equipment, the expectations of USPP sworn personnel responding to
           unlawful activity, and the initial response strategy and techniques.
           Special Events – an event or gathering which includes sports events, pageants,
           celebrations, historical reenactments, regattas, entertainments, exhibitions,
           parades, fairs, festivals, and similar events (including such events presented by the
           National Park Service), which are not demonstrations under Section II. D., and
           which are engaged in by one or more persons, the conduct of which has the effect,
           intent, or propensity to draw a crowd or onlookers.
           Special Event Agreement – a written agreement authorized by 54 U.S. Code §
           102701(b) with other law enforcement agencies for the purpose of ensuring
           additional law enforcement officers are available if necessary.
IV.   GENERAL PROVISIONS
           The USPP may take appropriate actions necessary to maintain public health and
           safety, to protect environmental or scenic values, to protect natural or cultural
           resources, or to implement management responsibilities, equitable allocation and
           use of facilities, or the avoidance of conflict among visitor activities.
           Such actions may include but are not limited to




           The operational priorities of managing an event are:
Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 9 of 24
                           ATTACHMENT A




     The Incident Commander or designee shall direct the officers and units under
     their command in the employment of crowd management, crowd intervention, and
     crowd control techniques through their established Rules of Engagement and on-
     scene communications. However, in those situations where communication with
     and guidance from the Incident Commander is not feasible, officers are expected
     to follow other applicable USPP policies and to rely upon their training,
     experience, and their reasonable belief as to what level of force (if any) is
     necessary under the circumstances.
     In situations where basic crowd control techniques are insufficient to restore order
     or are likely to expose officers and non-participating members of the crowd to
     risk of injury, the Incident Commander may elect to deploy the Civil Disturbance
     Unit which is a specialized police unit consisting of highly trained and equipped
     sworn personnel whose mission is to bring a situation under control during violent
     disorder, unlawful civil disturbances, law enforcement emergencies, and other
     critical situations that exceed the capabilities of the routine patrol officer or
     traditional crowd control techniques, while acknowledging and respecting the
     right of the people to peacefully assemble.
     During all special events and demonstrations, USPP sworn personnel excluding
     plain clothes personnel, shall ensure they are clearly identifiable as members of
     USPP, and their badges and nameplates are in public view, including on all
     outerwear, tactical gear, and helmets.




     All USPP sworn personnel shall
     Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 10 of 24
                                  ATTACHMENT A




           No sworn personnel shall discriminate based on race, color, sex, national origin,
           religion, sexual orientation, gender identity or expression, disability, or viewpoint.
V.   EVENT PLANNING AND ON-SCENE ASSESSMENT
           General Considerations




                          assess the situation for seriousness and its potential for escalation;
                          determine the initial rules of engagement; and
                          ensure the Rules of Engagement are briefed to all USPP sworn
                          personnel prior to any planned event or whenever feasible during
                          unplanned event.




                          Location and footprint of the demonstration/special event
                          Number of attendees (both anticipated and potential)
                          The need for traffic control, barricades, and barriers
                          The need for temporary barricades or fencing to establish
                          exclusion areas, separate opposing groups, or establish ingress and
                          egress chutes
                          Ingress and egress plans for personnel, equipment, and other
                          resources such as EMS, etc.
                          Ingress and egress for event attendees
                          Transportation plan
                          Intelligence briefings regarding potential threats
                          Assessing and scheduling explosive detection sweeps
Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 11 of 24
                           ATTACHMENT A



                    Invoicing for USPP/NPS staffing expenses associated with the
                    support of the special event.
                    Coordinating media access
                    Assisting planners/organizers with the development of a security
                    plan
                    Coordinating with law enforcement, Fire, and EMS partner
                    agencies regarding resources for law enforcement response,
                    medical response, and other critical incident response
                    Potential for counter-demonstrations/opposing groups
                    Potential need for crowd management, crowd control, and civil
                    disturbance units.
                    Civil Disobedience
                    Planning, preparing, and executing operations within the
                    parameters set forth in the National Incident Management System
                    (NIMS)




      Planned and/or Permitted Events
Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 12 of 24
                          ATTACHMENT A




      Unplanned Events




                   Assume the role of Incident Commander until relieved;
                   Notify the Dispatch Operations Unit, a supervisor, and the Shift
                   Commander’s Office of the nature and size of the gathering and
                   request the assistance of a supervisor;
                   Attempt to identify and engage the group organizers or leaders to
                   determine
                   i.     the duration of the event,
                   ii.    the number of persons expected to attend, and
                   iii.   if civil disobedience is anticipated or planned;
      Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 13 of 24
                                 ATTACHMENT A



                          Determine whether the gathering as a whole is peaceful, has
                          become violent, or has the potential to turn violent; and
                          Attempt to identify any criminal activity and isolate the involved
                          individuals.




VI.   RULES OF ENGAGMEMENT AND LEVELS OF RESPONSE
            Absent exigent circumstances, the Incident Commander shall determine the Rules
            of Engagement to




            Depending on the nature of the crowd, exigent circumstances, or any other valid
            public safety or law enforcement concern, the following response techniques may
            be utilized:


                          During special events and demonstrations, the USPP may utilize a
                          law enforcement presence for Crowd Management purposes to
                          protect an event’s lawful activities.
                          Crowd management may be utilized as the lowest level of response
                          and includes strategies and tactics employed before, during, and
                          after a gathering.
Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 14 of 24
                            ATTACHMENT A



                     These strategies include but are not limited to
                     i.     traffic posts,
                     ii.    foot beats/posts,
                     iii.   security fencing plans, and
                     iv.    screening procedures for prohibited items.


                     The USPP may utilize Crowd Intervention within pre-planned or
                     spontaneous activities to deter, isolate, and/or remove those
                     individuals engaging in unlawful behavior that impacts public
                     safety, while allowing the event, activity, or occurrence to continue
                     if possible.
                     Crowd Intervention techniques may include, but are not limited to
                     i.     individual officer response, and
                     ii.    group officer response, with the purpose of removing,
                            detaining, or arresting individuals engaged in unlawful
                            behavior.




                     Basic formations such as line, wedge, and echelon,
                     Civil Disturbance Unit response,
                     Horse Mounted CDU Response, and
                     SWAT tactical response.
      If any of the above techniques are employed, liaison officers shall inform
      assisting agencies of the crowd management, intervention, and control actions
      being undertaken and, when practicable, shall provide as much advance notice as
      possible.
      If the crowd is a demonstration engaging in unlawful acts, no area will be closed
      around them by using a police line to encircle, or substantially encircle them,
      except when
       Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 15 of 24
                                    ATTACHMENT A




             If arrests are necessary, such action should only be taken when enough officers
             and resources are available to safely conduct an arrest.
             Officers shall follow the procedures set forth in the G.O. 2108 High Volume
             Arrests.
VII.   WARNING AND DISPERSAL ORDERS
             A permit for a planned event may be revoked by the Incident Commander if
             continuation of the event presents clear and present danger to the public safety,
             good order, and health, or for any widespread violation of applicable law or
             regulation that poses significant threat to persons or property. A permit issued for
             a special event is revocable at any time at the reasonable discretion of the Incident
             Commander.
             Similarly, during an unplanned or unpermitted event, the USPP Incident
             Commander may also close or clear people from an area for public safety or
             resource protection purposes.
             Absent exigent circumstances, members of a crowd shall be given the opportunity
             to withdraw peacefully and disperse.




             When it becomes necessary to effect a peaceful dispersion of a crowd, the
             Incident Commander or designee shall issue warning and dispersal orders.
             Wherever possible, steps shall be taken to ensure that the participants in all areas
             of the crowd are able to hear the warning and dispersal orders. The nature of these
             steps may vary based on the circumstances and the means available to
             the USPP at the time of the dispersal order, but may include,
    Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 16 of 24
                                 ATTACHMENT A




          The warning and dispersal order shall be repeated three times, with approximately
          two (2) minutes between each warning, to give those who choose not to be
          arrested time to leave the immediate area. A dispatcher shall be asked to give a
          time check prior to issuing the first warning.
          Note: Where specific routes of egress have been identified, the crowd should be
          notified as part of the warning.




          Where possible, the Incident Commander shall balance the ability of the crowd to
          disperse via the available points of egress against the potential for serious injury if
          more time is allowed to elapse.
          The decision to revoke a permit or to clear demonstrators from an area shall in no
          way be based on the race, color, sex, national origin, religion, sexual orientation,
          gender identity or expression, disability, or viewpoint of the demonstrators.
VIII. USE OF FORCE DURING DEMONSTRATIONS AND SPECIAL EVENTS
          All officers shall adhere to G.O. 3615 Use of Force.
          Nothing in this General Order shall prevent an officer from using necessary force
          to protect members of the public and other officers subject to threat of immediate
Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 17 of 24
                            ATTACHMENT A



      physical harm, when no other options are feasible, and the force used is
      objectively reasonable and proportionate to the perceived threat.
      When reasonable and safe to do so, the Incident Commander shall seek to employ
      de-escalation tactics and techniques to bring an incident under control while
      promoting the safety of officers and the public while also minimizing the need to
      employ force and the risk of unintended injury or serious property damage.
      Absent exigent circumstances, gas masks and shields shall not be displayed or
      used for crowd control response unless approved by the Incident Commander or
      his/her designee at the rank of lieutenant or higher.
      Note: Members of the CDU and SWAT are authorized to display and use their
      defensive equipment when they are deployed and as guided by the Incident
      Commander. See Section IX Civil Disturbances.
      A situation may arise during a demonstration or an event where there is threat of
      immediate physical harm to members of the public, USPP sworn personnel,
      and/or other emergency responders.




      The actions of or recommendations by representatives of other law enforcement
      agencies shall be only one factor that determines the use of force by USPP sworn
      personnel.
      Absent exigent circumstances, only the Chief of Police or their designee at the
      rank of Major or higher can authorize the use of CS gas.
      Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 18 of 24
                                      ATTACHMENT A



            All officers directly involved in a demonstration or special event response shall
            document their actions and observations in USPP Form ____ if the event involves




IX.   CIVIL DISTURBANCES
            Participants in a civil disturbance may employ any number of unlawful actions to
            achieve their goals. These actions may be planned or spontaneous and may be
            violent or non-violent in nature.
            The situations that could evolve into a violent civil disturbance are numerous and
            varied. Often there will be little or no warning before the onset of violence or
            property damage. In many instances, it may be possible to predict a level of civil
            disturbance by the nature of a pre-planned event.
            Each civil disturbance situation is unique and the Incident Commander shall plan
            and respond according to the




                           lighting,
                           terrain,
Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 19 of 24
                           ATTACHMENT A



                    weather;
                    the effectiveness of communications; and
                    the crowd’s access to potential weapons (e.g., bricks, rocks, paving
                    stones, etc.).
      The Incident Commander shall continuously assess the situation and may choose
      to deploy the CDU and/or SWAT.
      The Incident Commander may deploy the CDU




                    The decision to activate and subsequently deploy CDU in response
                    to any incident involving civil unrest or related incidents should be
                    made with careful consideration.
                    Regardless of whether the situation is occurring in the present or if
                    there is time to plan for potentially volatile events, the CDU
                    response should be consistent with the nature of the incident and
                    the behaviors of the individuals involved.
                    Pre-planned deployments should be organized jointly between the
                    USPP Special Events Unit in conjunction with the acting CDU
                    Commander.
                    The CDU will generally organize in anticipation of assemblies,
                    gatherings, and/or events where there is information, intelligence,
                    and/or the threat of unlawful activity which has the propensity for
                    violence or significant property destruction.
                    Members of the CDU shall deploy in the appropriate level of PPE,
                    as outlined within the Guideline Manual Civil Disturbance Unit,
                    and take crowd control measures as directed by the Incident
                    Commander through the Platoon Commander.
                    The Incident Commander has the authority and command over the
                    entire scene even if geographically located in different areas and is
                    expected to provide clear commander’s intent and applicable rules
                    of engagement. However, individual command officials may
                    independently direct the actions of a squad, platoon, or other
      Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 20 of 24
                                    ATTACHMENT A



                             element when detached from the rest of the unit command element
                             (Ex. CDU, SWAT, etc.).
              The use of CDU and/or SWAT techniques is a higher level of force when
              compared to officers “standing a line” or moving a mild to moderately aggressive
              crowd from an area.
              The act of staging the CDU in the sightline of an aggressive crowd may be
              enough to deescalate the situation. However, it can also have the propensity to
              escalate tensions among a generally peaceful group. The IC should assess the
              potential response of the crowd to the staging of the CDU.
X.     COORDINATION WITH OTHER LAW ENFORCEMENT AGENCIES
The USPP operates in locations with multiple overlapping jurisdictions in which several law
enforcement and public safety agencies operate. The USPP shall work in close collaboration with
these agencies in response to both planned and unplanned demonstrations and special events by
establishing responsibilities and lines of communication as promptly as possible. The following
guidelines are established to provide more effective and efficient law enforcement services when
multiple law enforcement agencies are present.
              Command of joint operations shall be managed pursuant to methodologies
              consistent with NIMS/ICS.
              To the extent possible, all relevant and/or participating agencies shall be included
              in the planning process.
              Whether a demonstration or an event is planned or unplanned, the Incident
              Commander or designee shall ensure the following action are taken.




                             Specific geographical areas of primary responsibility for each
                             participating law enforcement agency should be determined in
                             accordance with each agencies’ jurisdiction.
                             If circumstances require additional resources in an area of either
                             concurrent jurisdiction or within an agency’s primary area of
                             responsibility where a Memorandum of Understanding has
                             expanded the scope of other agencies’ jurisdiction, each agency
                             shall have access to assistance from the other agencies as may be
                             required.
Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 21 of 24
                            ATTACHMENT A




                     Liaison officers should be able to make decisions for their agencies
                     or have a direct line of communication to decisions makers.
                     Each USPP designated Liaison Officer should be at least the rank
                     of Lieutenant.
                     All partner agencies shall provide a Liaison Officer to be present at
                     the incident command post.
                     The Incident Commander shall provide a brief to all Liaison
                     Officers of partner agencies to include
                     i.     the Incident Action Plan;
                     ii.    the Rules of Engagement;
                     iii.   any other relevant information.




      To the extent such notification is practicable, liaison officers shall inform other
      agencies responding to an event in advance of a dispersal order or if the Incident
      Commander is ordering the use of crowd control techniques or the deployment of
      the CDU.
      Generally, the USPP works with agencies which are brought in to support the
      USPP pursuant to a special events agreement as authorized by 54 U.S. Code
      § 10270(b) or are agencies with jurisdiction or bases of operation in nearby areas.




                     overlapping or concurrent jurisdiction,
                     similar law enforcement or public safety missions and/or
                     specializations, or
Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 22 of 24
                            ATTACHMENT A



                     similar CDU training if their CDU is to be deployed
      If an unanticipated agency is present pursuant to a call for support from another
      agency or for any other reason, the following steps shall be taken to ensure
      effective and efficient coordination of efforts.




      The USPP shall not aid other agencies engaged in the violation of laws and/or
      constitutional rights.




                     advise the other agency's on-site supervisor of the USPP’s
                     concerns;
                     notify the USPP Chief of Police; and
                     inform the DOI SOL DPW.
      Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 23 of 24
                                  ATTACHMENT A




XI.   RESPONSIBILITIES
            The Incident Commander shall be the official with the overall responsibility for
            managing an incident, following the standardized ICS roles under the NIMS.
            The Special Events Unit, Special Forces shall




            The Commander, Intelligence and Counter-terrorism shall provide threat
            assessments.
            The Shift Commander’s Office shall provide initial guidance to officers
            responding to an unplanned event. If necessary, the Shift Commander shall
            respond to the scene and take on the role of Incident Commander.
            Supervisory sworn personnel shall
       Case 1:20-cv-01469-DLF Document 182-1 Filed 04/13/22 Page 24 of 24
                                      ATTACHMENT A




XII.   REFERENCES
               36 CFR 7.96
               36 CFR 1.5; 36
               Director’s Order #53: Special Park Uses (2-23-2010) [As amended by
               Memoranda dated August 31 and November 20, 2020]
               NPS Management Policies (2006), Section 8.6 – Special Park Uses
               Reference Manual (RM) 53: Special Park Uses (June 2009)
               U.S. Department of Justice/U.S. Department of Homeland Security,
               Recommendations for First Amendment-Protected Events for State and Local
               Law Enforcement Agencies, December 2011.
               Guideline Manual Civil Disturbance Unit
XIII. CHANGE LOG
[This will be used after publication to record describe minor changes as well as the history of the
document.]
